   Case 1:01-cv-12257-PBS Document 6528-58 Filed 09/22/09 Page 1 of 17




                               Exhibit 57



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
         Case 1:01-cv-12257-PBS Document 6528-58 Filed 09/22/09 Page 2 of 17
OK Health Care Authority (Nancy Nesser)                             December 12, 2008
                                 Oklahoma City, OK

                                                                                Page 1
                 THE UNITED STATES DISTRICT COURT

                FOR THE DISTRICT OF MASSACHUSETTS

     ------------------------------------X

     In Re:   PHARMACEUTICAL INDUSTRY     ) MDL No. 1456

     AVERAGE WHOLESALE PRICE LITIGATION   ) Master File No.

     ------------------------------------) 01-CV-12257-PBS

     THIS DOCUMENT RELATES TO:            )

     United States of America ex rel.     ) Hon. Patti B.

     Ven-A-Care of the Florida Keys,      )     Saris

     Inc., et al., v. Dey, Inc., et al., )

     Civil Action No. 05-11084-PBS;       )

     and United States of America ex      ) DEPOSITION OF

     rel. Ven-A-Care of the Florida       )   THE OKLAHOMA

     Keys, Inc., et al., v. Boehringer    )   HEALTH CARE

     Ingelheim Corp., et al., Civil       )    AUTHORITY

     Action No. 07-10248-PBS;             )    by NANCY

     and United States ex rel. Ven-A-Care)      NESSER

     of the Florida Keys v. Abbott        )

     Laboratories, Inc., Civil Action     )   DECEMBER 12,

     Nos. 06-CV-11337 and 07-CV-11618     )      2008

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         Case 1:01-cv-12257-PBS Document 6528-58 Filed 09/22/09 Page 3 of 17
OK Health Care Authority (Nancy Nesser)                             December 12, 2008
                             Oklahoma City, OK

                                                                                Page 2
  1
                    VIDEOTAPE DEPOSITION OF THE OKLAHOMA
  2
                    HEALTH CARE AUTHORITY by NANCY NESSER
  3
                     TAKEN ON BEHALF OF THE DEFENDANTS
  4
                       ON DECEMBER 12, 2008 AT 8:58 AM
  5
                           IN OKLAHOMA CITY, OKLAHOMA
  6

  7

  8
        VIDEOTAPED BY:          Gabriel Pack
  9
        REPORTED BY:           Jody Graham, CSR, RPR, RMR, CRR
 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22




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         Case 1:01-cv-12257-PBS Document 6528-58 Filed 09/22/09 Page 4 of 17
OK Health Care Authority (Nancy Nesser)                             December 12, 2008
                             Oklahoma City, OK

                                                                              Page 54
  1
        just thinking about acquisition.
  2
               Q.      Okay.      When did you first become aware
  3
        of the difference between AWP and actual
  4
        acquisition costs for generic drugs?
  5
               A.      That probably would have been later
  6
        than that.        I mean, not all the way to '99, but
  7
        maybe '95, '96, somewhere in there.
  8
               Q.      And in '95, '96 what was your
  9
        understanding of the difference between AWP and
 10
        actual acquisition costs for generic drugs?
 11
               A.      That sometimes there was a wide
 12
        difference.        Not always.
 13
               Q.      Can you describe what you mean by "wide
 14
        difference"?
 15
               A.      Just that it was -- it was variable.
 16
        It wasn't a standard.              It wasn't, like, with the
 17
        brand name where you could -- you can see it's
 18
        consistent.        If you pulled two manufacturers
 19
        brand-name products off the shelf, the markup is
 20
        going to be about the same.                 If you pulled two --
 21
        even of the same generic drug, the -- there's no
 22
        consistency between the AWP and the acquisition.

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         Case 1:01-cv-12257-PBS Document 6528-58 Filed 09/22/09 Page 5 of 17
OK Health Care Authority (Nancy Nesser)                             December 12, 2008
                             Oklahoma City, OK

                                                                              Page 55
  1
               Q.      So is it your understanding that there
  2
        was no particular formula or specified markup
  3
        between AWP and actual acquisition costs for
  4
        generic drugs starting in, you know, around 1995?
  5
               A.      That would -- that would be a fair
  6
        statement, yes.
  7
               Q.      Okay.      You mentioned earlier that -- at
  8
        least with reference to the brand drugs, you
  9
        might, in purchasing drugs, consider the gap
 10
        between the AWP and the actual acquisition cost.
 11
        Did you choose who to buy your prescription drugs
 12
        from based on that spread between AWP and actual
 13
        acquisition costs?
 14
               A.      Not typically.           You know, there were a
 15
        few products where -- for example, I'm not going
 16
        to be able to -- Prinivil and Zestril were both
 17
        Lisinopril made by two different companies.                              But
 18
        they typically were priced almost to the penny
 19
        the same.
 20
                       So when there were brand drugs where
 21
        you had two manufacturers, they seemed like they
 22
        would just price them pretty close.                      So there's

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         Case 1:01-cv-12257-PBS Document 6528-58 Filed 09/22/09 Page 6 of 17
OK Health Care Authority (Nancy Nesser)                             December 12, 2008
                             Oklahoma City, OK

                                                                              Page 56
  1
        no benefit to getting one over the other.
  2
               Q.      While you were working at any of the
  3
        pharmacies prior to working for Oklahoma
  4
        Medicaid, were you aware of anyone marketing the
  5
        spread?
  6
               A.      I think I -- I remember being sort of
  7
        told, not exactly, but -- that was pointed out to
  8
        me.    Not by a sales person, but by my boss.
  9
               Q.      Okay.      And what was pointed out to you
 10
        by your boss, exactly?
 11
               A.      Just that -- just that -- that certain
 12
        -- certain generics had this lower price and that
 13
        we've got paid -- not necessarily based on AWP,
 14
        but we would get paid based on a maximum
 15
        allowable cost.           And so you -- you wanted to find
 16
        the least expensive one because payors were
 17
        starting to put in maximum allowable cost
 18
        programs.       And so you wanted to make sure you
 19
        were getting the best deal.
 20
               Q.      Was it ever discussed, not just in
 21
        relation to maximum allowable costs, but in
 22
        relation to the difference between the price at

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         Case 1:01-cv-12257-PBS Document 6528-58 Filed 09/22/09 Page 7 of 17
OK Health Care Authority (Nancy Nesser)                             December 12, 2008
                             Oklahoma City, OK

                                                                              Page 57
  1
        which you could acquire drugs and the AWP-based
  2
        reimbursement?
  3
               A.      I don't remember that specifically.
  4
               Q.      Okay.      I would like to start with a
  5
        picture of how the Medicaid program works in
  6
        Oklahoma.
  7
               A.      Okay.
  8
               Q.      And in the federal government.
  9
        Medicaid in generally is partnership between the
 10
        federal government and the state governments;
 11
        correct?
 12
               A.      Correct.
 13
               Q.      Are you familiar with the term federal
 14
        matching assistance percentage?
 15
               A.      Yes.
 16
               Q.      What is federal matching assistance
 17
        percentage?
 18
               A.      That is the amount that the federal
 19
        government contributes to a state's Medicaid
 20
        program.
 21
               Q.      Essentially the federal government pays
 22
        a part of Oklahoma's expenditures under its

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         Case 1:01-cv-12257-PBS Document 6528-58 Filed 09/22/09 Page 8 of 17
OK Health Care Authority (Nancy Nesser)                             December 12, 2008
                             Oklahoma City, OK

                                                                              Page 63
  1
               Q.      When you mean "the rate is better than
  2
        any other payor in the state," do you mean that
  3
        other payors in the state reimburse providers at
  4
        a lower amount for the same prescription drugs as
  5
        Oklahoma Medicaid does?
  6
               A.      Yes.
  7
               Q.      Is that one way that Oklahoma Medicaid
  8
        encourages providers to participate in its
  9
        program?
 10
               A.      Yes.
 11
               Q.      What is the approximate number of
 12
        pharmacies in Oklahoma?
 13
               A.      I believe it's -- just for retail
 14
        pharmacies I'm going to guess that it's around
 15
        1,100, something like that.
 16
               Q.      Do you know how many of these
 17
        pharmacies participate in the Oklahoma Medicaid
 18
        program?
 19
               A.      Virtually all of them are contracted.
 20
        There are about 900 that actively file claims.
 21
        Some of them may be in areas where there's not a
 22
        -- a heavy Medicaid population.                    So while they're

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         Case 1:01-cv-12257-PBS Document 6528-58 Filed 09/22/09 Page 9 of 17
OK Health Care Authority (Nancy Nesser)                             December 12, 2008
                             Oklahoma City, OK

                                                                              Page 64
  1
        contracted, they just may not have a claim in a
  2
        given year.
  3
               Q.      Has the percentage of pharmacies in
  4
        Oklahoma Medicaid that participate in its
  5
        Medicaid program changed over time?
  6
               A.      Not that I'm aware of.
  7
               Q.      Are there any factors in Oklahoma that
  8
        make access to care a particular concern?
  9
               A.      There are some areas which are fairly
 10
        rural, and there may be only one pharmacy in some
 11
        of the more sparsely populated counties.                          I don't
 12
        think that there are any counties that don't have
 13
        a pharmacy at all at this point; but there are
 14
        some, especially in the panhandle and in the far
 15
        southwest part of the state, where it may be, you
 16
        know, a 30-mile drive to a pharmacy or a
 17
        physician.
 18
               Q.      What do you consider Oklahoma's goals
 19
        with respect to its Medicaid program?
 20
               A.      Can you be a little more specific than
 21
        that?     I mean, that's a pretty broad question.
 22
               Q.      Does Oklahoma Medicaid have overall

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         Case 1:01-cv-12257-PBS Document 6528-58 Filed 09/22/09 Page 10 of 17
OK Health Care Authority (Nancy Nesser)                             December 12, 2008
                             Oklahoma City, OK

                                                                               Page 89
  1
        Medicaid providers for the 2002 change to
  2
        reimbursement formula?
  3
                A.     No.     I don't recall even receiving
  4
        letters or complaints.
  5
                Q.     Would you have been the one to receive
  6
        any letters or complaints?
  7
                A.     They would have eventually made their
  8
        way to me, yes.
  9
                Q.     Would all complaints have made their
 10
        way to you?
 11
                A.     For this rate change, yes.
 12
                Q.     Drug manufacturers weren't involved in
 13
        making the decision to change the reimbursement
 14
        formula in 2002, were they?
 15
                A.     No.
 16
                Q.     Were Medicaid providers consulted prior
 17
        to making changes in general to Oklahoma
 18
        Medicaid's reimbursement methodology for
 19
        prescription drugs?
 20
                A.     "In general," you mean?
 21
                Q.     Was it Oklahoma Medicaid's practice to
 22
        consult providers prior to making changes to its

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         Case 1:01-cv-12257-PBS Document 6528-58 Filed 09/22/09 Page 11 of 17
OK Health Care Authority (Nancy Nesser)                             December 12, 2008
                             Oklahoma City, OK

                                                                               Page 90
  1
        reimbursement formula?
  2
                A.     Not that I know of.
  3
                Q.     You mentioned that the Oklahoma
  4
        Pharmacists Association was involved to some
  5
        extent in the process in 2002 to making changes
  6
        to the reimbursement formula.                   Could you describe
  7
        their involvement in that process.
  8
                A.     As I recall, we, you know, certainly
  9
        had a few courtesy meetings with them to address
 10
        any concerns that they might have.                      And I don't
 11
        specifically recall, but they could have made
 12
        public comment at the rates and standards
 13
        hearing.
 14
                Q.     Why did Oklahoma Medicaid consult with
 15
        the Oklahoma Pharmacists Association prior to
 16
        making changes to the reimbursement formula?
 17
                A.     Mainly just as a courtesy because
 18
        they're the association that would represent the
 19
        pharmacy providers.
 20
                Q.     If you didn't receive complaints from
 21
        providers either through that association or
 22
        otherwise, would your understanding have been

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         Case 1:01-cv-12257-PBS Document 6528-58 Filed 09/22/09 Page 12 of 17
OK Health Care Authority (Nancy Nesser)                             December 12, 2008
                             Oklahoma City, OK

                                                                               Page 91
  1
        that it was because the reimbursement formula was
  2
        sufficient to encourage their participation in
  3
        Medicaid?
  4
                A.     That would be my understanding, yes.
  5
                Q.     Drug manufacturers have not had any
  6
        authority to set or change the reimbursement
  7
        methodology used by Oklahoma Medicaid; correct?
  8
                A.     That's correct.
  9
                Q.     As we discussed, Oklahoma is given
 10
        discretion by CMS to set a specific reimbursement
 11
        methodology to pay providers for prescription
 12
        drugs that are dispensed to Medicaid
 13
        beneficiaries; correct?
 14
                A.     Uh-huh.
 15
                Q.     You're aware that different states have
 16
        chosen different methodologies?
 17
                A.     Yes.
 18
                Q.     One of the reasons that different
 19
        states had different methodologies was that
 20
        states, such as Oklahoma, tailor their
 21
        reimbursement methodology to fit local needs;
 22
        correct?

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         Case 1:01-cv-12257-PBS Document 6528-58 Filed 09/22/09 Page 13 of 17
OK Health Care Authority (Nancy Nesser)                             December 12, 2008
                             Oklahoma City, OK

                                                                             Page 222
  1
                Q.     Does Oklahoma Medicaid use a point-of-
  2
        sale system?
  3
                A.     You mean to pay the claims?
  4
                Q.     Uh-huh.
  5
                A.     Yes.
  6
                Q.     AWP is not defined in Oklahoma
  7
        regulations, is it?
  8
                A.     I don't think it's specifically
  9
        defined.       It's referred to.
 10
                Q.     AWP is not defined in Oklahoma
 11
        statutes, is it?
 12
                A.     Oh, not in Oklahoma statutes, I don't
 13
        believe so, no.
 14
                Q.     Oklahoma could have defined AWP as
 15
        actual acquisition costs, if it had wanted to;
 16
        correct?
 17
                A.     I suppose so.
 18
                Q.     When Oklahoma makes decisions regarding
 19
        reimbursement methodology for prescription drugs,
 20
        it draws upon various sources of information that
 21
        are available to it; correct?
 22
                A.     Correct.

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         Case 1:01-cv-12257-PBS Document 6528-58 Filed 09/22/09 Page 14 of 17
OK Health Care Authority (Nancy Nesser)                             December 12, 2008
                             Oklahoma City, OK

                                                                             Page 223
  1
                Q.     The OIG reports we discussed are one of
  2
        the sources of information?
  3
                A.     Yes.
  4
                Q.     And surveys or reports conducted at the
  5
        direction of Oklahoma Medicaid would be other
  6
        sources of information that were considered?
  7
                A.     Yes.
  8
                Q.     Myers & Stauffer's report prepared at
  9
        Oklahoma Medicaid's discretion would be another
 10
        source of information it could consider?
 11
                A.     You mean, if we hired them or -- you
 12
        mean, in the past?
 13
                Q.     In the past when Oklahoma Medicaid did
 14
        hire Myers & Stauffer.
 15
                A.     Sure.
 16
                Q.     And when Oklahoma Medicaid makes
 17
        decision regarding its prescription drug payment
 18
        rates and dispensing fees, it also draws upon the
 19
        expertise of the people working for the state;
 20
        correct?
 21
                A.     Correct.
 22
                Q.     Ultimately the payment rate that is

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         Case 1:01-cv-12257-PBS Document 6528-58 Filed 09/22/09 Page 15 of 17
OK Health Care Authority (Nancy Nesser)                             December 12, 2008
                             Oklahoma City, OK

                                                                             Page 224
  1
        adopted is a decision that the state makes;
  2
        correct?
  3
                A.     Correct.
  4
                Q.     For instance, Oklahoma Medicaid chooses
  5
        for itself whether to reimburse providers based
  6
        on AWP minus a discount; correct?
  7
                A.     Correct.
  8
                Q.     Oklahoma Medicaid is not required to
  9
        use AWP as a bench mark in its reimbursement
 10
        formula?
 11
                A.     That's correct.
 12
                Q.     Oklahoma Medicaid could choose to
 13
        reimburse providers based on WAC, if it wanted
 14
        to; correct?
 15
                A.     Correct.
 16
                Q.     Oklahoma Medicaid could choose to
 17
        reimburse providers based on an actual
 18
        acquisition cost, if it wanted to; correct?
 19
                A.     Correct.
 20
                Q.     There are several constituencies
 21
        outside of the Medicaid agency that have strong
 22
        interests in what decisions are made within the

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         Case 1:01-cv-12257-PBS Document 6528-58 Filed 09/22/09 Page 16 of 17
OK Health Care Authority (Nancy Nesser)                             December 12, 2008
                             Oklahoma City, OK

                                                                             Page 225
  1
        agency about prescription drugs; correct?
  2
                A.     Correct.
  3
                Q.     In the case of Oklahoma Medicaid, some
  4
        of those constituency groups are providers;
  5
        correct?
  6
                A.     Correct.
  7
                Q.     And that includes pharmacists; correct?
  8
                A.     Correct.
  9
                Q.     Does Oklahoma consult with any pharmacy
 10
        associations in general when setting policies or
 11
        rates for reimbursement of prescription drugs?
 12
                A.     Yes.
 13
                Q.     Which pharmacy associations?
 14
                A.     We consult with the Oklahoma
 15
        Pharmacists Association, and there's another
 16
        group called Pharmacy Providers of Oklahoma.
 17
                Q.     And how does Oklahoma consult with the
 18
        Oklahoma Pharmacists Association and Pharmacy
 19
        Providers of Oklahoma?
 20
                A.     We usually have a meeting with them, a
 21
        face-to-face.
 22
                Q.     And what's discussed at those meetings

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         Case 1:01-cv-12257-PBS Document 6528-58 Filed 09/22/09 Page 17 of 17
OK Health Care Authority (Nancy Nesser)                             December 12, 2008
                             Oklahoma City, OK

                                                                             Page 226
  1
        about reimbursing for prescription drugs?
  2
                A.     Just whatever the issue is.                  I mean,
  3
        they're -- they're pretty focused meetings.
  4
                Q.     How often do these meetings or
  5
        communications occur?
  6
                A.     They've probably occurred maybe once a
  7
        year since I've been there.                  Maybe twice if
  8
        there's either a -- some legislative proposal or,
  9
        you know, from any of them or from someone else.
 10
        We might meet with them for that.
 11
                       But yet they're not -- they're not,
 12
        like, monthly or anything regularly scheduled.
 13
                Q.     You wouldn't consider that there's
 14
        anything improper about pharmacies expressing
 15
        their opinions about regulations that affect
 16
        them, would you?
 17
                A.     No.
 18
                Q.     Providers had an interest in keeping
 19
        reimbursement high because they're in the
 20
        business to make some sort of profit; correct?
 21
                       MR. MAO:        Objection, form.
 22
                       THE WITNESS:          Correct.

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